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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

  UNITED STATES OF AMERICA                              §
                                                        §
  VS.                                                   §       CR. NO. 1:13-CR-00096
                                                        §
  JUAN SAENZ-TAMEZ                                      §

                           NOTICE OF APPEARANCE OF COUNSEL

  TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES, JUAN SAENZ-TAMEZ, Defendant in the above numbered and

  entitled action and respectfully requests the Court to take notice that he has retained attorney

  CRISPIN (C.J.) QUINTANILLA to appear as lead attorney for him. Mr. Quintanilla had

  previously filed his Application To Appear Pro Hac Vice, and it was approved on October 17,

  2014. We hereby request, that all notices and correspondence be submitted to the following

  address:

                            GARCIA, QUINTANILLA & PALACIOS
                                    5526 N. Tenth Street
                                    McAllen, Texas 78504
                                  (956) 682-9477 Telephone
                                      (956) 682-0223 Fax
                                     gqplaw@yahoo.com

                                                Respectfully Submitted,

                                                LAW OFFICES OF
                                                GARCIA, QUINTANILLA & PALACIOS
                                                5526 North Tenth Street
                                                McAllen, Texas 78504
                                                (956) 682-9477 Telephone
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                                                /S/CRISPIN (C.J.) QUINTANILLA
                                                CRISPIN (C.J.) QUINTANILLA
                                                State Bar of Texas No. 16436330
                                                Federal I.D. No. 12431
